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  IT IS ORDERED as set forth below:



  Date: January 27, 2023
                                                     ________________________________
                                                                 Paul Baisier
                                                         U.S. Bankruptcy Court Judge

  _______________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


                                                )           CHAPTER 7
IN RE:                                          )
                                                )           CASE NO. 21-55752-PMB
NEW VISION REALTY & INVESTMENTS,                )
INC.,                                           )
                                                )
         Debtor.                                )


         ORDER AUTHORIZING PAYMENT OF ADMINISTRATIVE EXPENSES

         On January 26, 2023, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate (the “Bankruptcy Estate”) of New Vision Realty & Investments, Inc., filed a

motion for authority to pay administrative expenses of the Bankruptcy Estate, seeking authority to

pay $1,546.00 to the Georgia Department of Revenue for State income taxes and $5,647.00 to the

Internal Revenue Service for federal income taxes for taxes arising out of the sale of that certain

real property with a common address of 2562 Meadow Lark Drive, East Point, Fulton County,

Georgia 30344 [Doc. No. 119] (the “Motion”).
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       In the Motion, Trustee shows that there are sufficient funds in the Bankruptcy Estate with

which to make the foregoing payment, and Trustee submits that such expenses were actual and

necessary expenses that benefitted the Bankruptcy Estate.

       The Court having considered the Motion and all other matters of record and finding that no

further notice or hearing is necessary; and, the Court having found that good cause exists to grant

the relief requested in the Motion, it is hereby

       ORDERED that the Motion is GRANTED: Trustee is authorized to pay $1,546.00 to the

Georgia Department of Revenue for State income taxes and $5,647.00 to the Internal Revenue

Service for federal income taxes.

                                      [END OF DOCUMENT]

Order prepared and presented by:

ROUNTREE LEITMAN KLEIN & GEER, LLC
Attorneys for Trustee

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Identification of parties to be served:

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